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                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF OREGON
                                      PORTLAND DIVISION

MICHAEL JAMES EVANS,                                        Civil Case No. 2:22-cv-01051-YY
                                                                         ----------
                   Petitioner,                     PETITION FOR WRIT OF HABEAS CORPUS
                                                       PURSUANT TO 28 U.S.C. § 2241
v.

ERIN REYES , SUPERINTENDENT,

                     Respondent.

                        PETITION FOR WRIT OF HABEAS CORPUS


      Petitioner, Michael James Evans, pro se, respectfully petitions this Court, pursuant to

28 U.S.C. § 2241, to issue a Writ of Habeas Corpus. Who is illegally in custody in violation of

Petitioner's First, Fifth, Sixth, Thirteenth and Fourteenth Amendment rights to the United States

Constitution, and Article I, §§ 8, 10, 11, and 41 of the Oregon Constitution; and moves this court

for an order to appoint counsel and produce his body immediately before the state court, so that

judicial inquiry may be made into the legality of the restraint or imprisonment and appropriate

judgment rendered thereon.

                                  CONVICTIONS UNDER ATTACK

     1.Name and Location of Court: Multnomah County Circuit Court, Portland Oregon.

     2.Docket No.: 061035934

     3.Judgment Date/ Sentencing Date: Judgment date: 12/ 7, 2007 / Sentenced 12/ l 1, 2007.

     4.Length of Sentence and Nature of Offenses:

        a. Counts 1 - 8, Sex abuse in the 1st Degree ( Victim A)

        b. Counts 9 - 12, Sodomy in the 1st Degree ( Victim A)



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      c. Counts 13 - 15 Sexual Abuse in the 1st Degree ( Victim B )

   5.Combined sentences of 355 Months.

   6.Pleadings: Not Guilty as to all counts.

   7.Type of Trial: Jury trial.

   8.Testified at Trial?: No.

                            APPLICABLE APPEALLATE COURT RULING

   9.Reverse and Remand to Post Conviction Court.

      a. Name of Court: Oregon Court of Appeals, on remand from State Supreme Court.

      b. Docket or Case No.: Evans v. Nooth, 318 Or.App. 162, A161781 (Or. App. Mar 09, 2022);

      On remand from Oregon Supreme Court Evans v. Nooth, 368 Or 159, 487 P.3d 42 (Or. 2021 ).

      c. Result: Agreed with petitioner that his appellate counsel failed to exercise reasonable

      professional skill and judgment regarding the reversal of Counts 13 and 14, and we conclude

      that petitioner was prejudiced as a result. Accordingly, we reverse and remand the post-

      conviction court's judgment and leave it to that court to fashion an appropriate remedy in the

      first instance ... [i]n this case, our earlier decisions in Evans I and Evans II were affected by

      appellate counsel's failure to exercise reasonable professional skill and judgment in developing

      a harmless error argument regarding Counts 13 and 14. Had appellate counsel done so, it is

      more probable than not that petitioner would have obtained a reversal of those convictions. For

      that reason, petitioner is entitled to Post Conviction relief Copy of Ruling attached.

       d. Date of result and citation: March 9th , 2022

       e. Grounds Raised : Ineffective assistance of Appellate counsel.

                                  GROUNDS FOR HABEAS RELIEF

        At all times material to petitioner's claims for relief, he was entitled to a fair and impartial trial



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      by a jury of his peers, and adequate and effective assistance of his trial counsel, and to be free

      of unlawful search and seizure, and from being framed by use of court, and / or prosecutorial

      misconduct, and ineffective assistance of both trial and appellate counsel denying due process

      under Article I,§§ 8, 10, and 11 of the Oregon Constitution and and the First, Fifth, Sixth, and

      Fourteenth Amendments to the United States Constitution. And being forced to work under

      penalty of punitive sanctions after it has been determined that Petitioner was not "duly

      convicted" of a criminal offense pursuant to section 1 of the Thirteenth Amendment of the U.S.

      Constitution, and Article I, § 41 of the Oregon Constitution.



      A. Petitioner Filed a Timely Petition pro se for Habeas Corpus Relief.



      B. All grounds for relief that have been raised above in this Petition have all been where

      noted presented to the highest state courts having jurisdiction fully exhausting all state

      remedies available to Petitioner. All of Petitioner's remaining convictions have been reversed

      and remanded and he is now being held illegally at Two Rivers Correctional Institution, being

      subjected to slavery and involuntary servitude without having been "duly convicted" of a crime.

      for an indefinite period of time due to lack of counsel willing to take PCR cases available to

      Oregon Public Defense Services.



       1"1 Claim: Petitioner is being effectively denied his First U.S Constitutional Amendment

       right to access the court, as well as his rights under the Oregon Constitution's Article I, Section

       8; Fifth and Sixth Amendment U.S. Constitutional rights to counsel , as well as Oregon Article

       I, Section 11 , and Section 10 right to justice "administered, openly and without purchase,



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      completely and without delay"; and Fowteenth Amendment right to due process.



      2 nd Claim: The appellate court erred in its decision to remand the case back to the PCR Court

      to "determine the proper remedy"; Under false assumptions stating:

          "That leaves the question of remedy. As the superintendent points out, after our decision in
      Evans II, the state dismissed the claims against A and proceeded to resentencing on claims
      against B. We generally agree with the superintendent that the case should be returned to the
      status it would have been in had petitioner's counsel provided constitutionally adequate
      representation-that is, with petitioner facing the possibility of retrial on the remanded counts
      against A as well as B. However, the post-conviction court has not had the opportunity to
      address the question of what remedy to fashion in light of all the circumstances, and we
      therefore reverse and remand for the post-conviction court to address that question in the first
      instance. "
        Evans v. Nooth, 318 Or.App. 162 (Or. App. 2022) Id. at 16.

        Due to the following reasons:

          l. There was a "plea agreement" of in place in 2010. Petitioner was told that the state

              would agree to dismiss all counts involving "A" if Petitioner agreed to dismiss his

              Motion for Demurrer on counts 13 and 14 involving "B". See Santobello v. New York,

              404 US 257,262, 92 S.Ct. 495, 30 L.Ed. 2D 427 (1971); see also, Stone v. OSP, 39 Or.

               App. 473 , 476, 592 P.2d 1044 (l 979)("Failure to scrupulously observe a plea bargain is

               cause for post conviction relief'); Lopez v. Mills. 249 Or. App. 674, 278 P.3d 94, 97-98

               (2012)("When a plea rests in any significant degree on a premise or agreement of the

               prosecutor, so that it can be said to be part of the inducement or consideration, such

               promise must be full filled.")

          2. It would violate Ex Post Facto laws of Article I, Section 21 of the Oregon Constitution.

               See State v. Dufort , 111 Or. App. 515, 519, 827 P.2d 192, 194 (Or. App. l 992)("lt is well

               settled that an amendment to a statute of limitations enlarging the period of time with an

               action can be brought as to pending causes of action is not retroactive legislation, and


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              does not impair any vested right"); also, Nichole v. Wilber , 256 Or. 418, 420, 473 P.2d

              1022 (1970).

          3. There is no statutory authority that authorizes the trial court to revive dismissed charges.

              Or. Rev. Stat. § 135.753. Bolstered by Article Vil, §5 of the Oregon Constitution. And

              the fact that under Article I, § 12, and the Fourteenth Amendment to the U.S.

              Constitution "double jeopardy" attaches. Thus, the retroactive application of 2015

              Amendments to Or. Rev. Stat.§ 135 .753 would violate ex post facto provisions of the

              state and federal constitution.

                Therefore, at worst, counts 13 and 14, and only those counts should have been

              remanded back not to the PCR Court, but to the original Trial Court. If not outright

              dismissed for lack of any actual evidence that wasn't coerced or instituted through

              known outright brainwashing techniques.

                 In fact Petitioner was not told until some years after the fact that the sole reason why

               the state was so eager to come forth and present the "deal" to dismiss all counts

               involving "A" was due to the fact that neither "A" nor her grandmother would agree to

               appear for a retrial the second time around to re-testify. They both flatly refused.



                                           OTHER INFORMATON

    I.Petitioner has no other petitions or appeals pending in this case pending in any other state of

       federal court that's being challenged here.

    2. The full names and addresses of each attorney who represented petitioner in the states of

       judgment are as follows:

       a.) At Trial and sentencing : Lawrence L. Taylor, 1020 SW Taylor St. Ste. 230 Portland,



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     Oregon 97205.

     b.) On Direct Appeal: Laura A. Frikert, 1175 Court St. N.E., Salem, Oregon 97301-4030

     c.) On Post-conviction Relief:

         1.) Manuel Perez, 381 West Idaho Ave. , Onterio, Oregon 97914.

         2.) Amber Kolsrud, 381 West Idaho Ave., Onterio, Oregon 97914.

         3.) Noel Grefeson, 1415 Liberty St. NE., Salem, Oregon 97302.

     d.) On Appeal from PCR:

         1.) Jebediah Peterson, 522 SW 5th Ave. Ste. 1125, Portland, Oregon 97204.

         2.) Harrison Latto, 1631 N.E. Broadway, No. 533, Portland, Oregon 97232.

         3.) Kenneth Kruescher, P.O. Box 12625, Portland Or. 97212

   3.This is Petitioner's First ever Federal Petition for 28 U.S.C. §2241 writ of Habeas Corpus in this

      case.

   4.Petitioner has no future sentence to serve after completion of the sentence imposed by the

      judgment in the instant case.

      a.) Multnomah County Circuit Court, 1021 SW Fourth Ave. , Portland, Oregon 97204-1123

      b.) County Circuit Court Case No. 061035934; PCR Case No. 12-03-9338-P; Appellate Case

      No. A-161781.

      c.) Sentenced to two consecutive 75 month terms.

   5.TIMELINESS OF PETITION: "[t]he time during which a properly filed application for State

      post-conviction or other collateral review with respect to the pertinent judgment or claim is

      pending shall not be counted toward any period of limitation under this subsection." 28 U.S.C. §

      2244(d)(2). Petitioner's Habeas has been timely filed per 28 U.S.C. § 2244(d)(2).

   6.This Petition was placed with the Prison Law library Coordinator for E- Filing on this   1 q1).. day


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           of ~                        , 2022

     WHEREFORE, petitioner prays that the court will grant such relief to which he may be entitled in

    this federal petition for writ of habeas corpus pursuant to 28 U.S.C. § 2241 by a person in state custody.

                                DECLARATION UNDER PENALTY OF PERJURY

      I declare under penalty of perjury under the laws of the United States of America that I am aware

    that the foregoing statements are to be used in a legal proceeding and are true and correct.

    Respectfully submitted,

     ~         /,, .,,.,,1(.J                             Dated this 29 th day of June; 2022
    Michael J~mes Evans , prose.
    11668134 Beach Access Rd.
    Umatilla, Oregon 97882




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                                            CERTIFICATE OF SERVICE

CASE NAME: _       __._
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CASE NUMBER: (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      COMES NOW,             M1 ;hMI                                      .
                                               J {Jwt"S bJJ/.J ~, /JfflliJ MEt                       , and certifies the following:

That I am incarcerated by the Oregon Department of Corrections at Two Rivers Correctional
Institution. (TRCI)

       That on the 1lJn, day of              1u4J                                           ,
                                                                  20_ll___, I personally gave Two
Rivers Correctional Institution's e-filing service a TRUE COPY of the following:




                                                                      V                 I
                                                              (Signature)

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                                                              SID #: J/66?/1'/




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162                       lVIar~h 9, 2022                  No. 146
                                                                     exhibit
            IN THE COlJRT OF APPE.ALS OF THE
                       . STATE OF OREGON
                                                                 emet
                  1:VIICHAEL JAlVIES EVANS ,
                       Petitioner-Appellant,
                                v.
                        MarkNOOTH,
                       Superintendent,
              Snake River Correctional Institution,
                    Defendant-Respondent.
                TVIalheur County Circuit Court
                     12039338P;A161781

   On re1nand fr01n the Oregon Supreme Court, E vans v.
1Vooth, 368 Or 159, 487 P3d 42 (2021).
   J. Blll'dette Pratt, Senior Judge.
   Submitted on re1nand July 1, 2021.                 •
   Jed Peterson and O'Connor Weber LLC filed the opening
brief for appellant. 1\1ichael J a1nes Evans filed the supple-
n1ental brief pro se.
   Frederick Boss, Deputy Attorney General, Benjan1in
Gutinan, Solicitor General, and Erin K. Galli, Assistant
Attorney General, filed the answering brief for respondent.
   Before Jan1es, Presiding Judge, and Lagesen, Chief
Judge, and Kamins, Judge.
      JAlVIES, P. J.
      Reversed and ren1anded.
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                                                    Exhibit
                                                                         163

          JAMES, P. J.
         This post-conviction case, which involves a claim.
of inadequate assistance by petitioner's appellate counsel,
is before us on remand fron1 the Oregon Supre1ne Court.
Evans v. Nooth, 368 Or 159, 487 P3d 42 (2021) (Evans IV).
We had previously affirmed, Evans v. Nooth, 300 Or App
331, 452 P3d 1026 (2019) (Evans III), but the Supreme
Court concluded that our analysis had introduced issues
into the case beyond what had been litigated in the post-
conviction court and on appeal in Evans III. For that reason,
the Supre1ne Court sent the case back to us to consider "the
question before the post-conviction court and fran1ed by the
parties on appeal," which is "·whether, in responding to the
state's petition for reconsideration [on direct appeal], appel-
late counsel had provided inadequate assistance in failing
to argue that the trial court's erroneous admission of the
 doctor's testin1ony had required reversal of all convictions,
 including on Counts 13 and 14.'' Evans IV, 368 Or at 165.
 On reconsideration, we agree with petitioner that his appel-
 late counsel failed to exercise reasonable professional skill
 and judgment regarding the reversal of Counts 13 and 14,
 and we conclude that petitioner ,vas prejudiced as a result.
 Accordingly, we reverse and ren1and the post-conviction
 court's judgn1ent and leave it to that court to fashion an
 appropriate remedy in the first instance. 1
        Most of the pertinent background facts ,vere set out
by the Supreme Court, and we draw from that summary to
frame the issues on ren1and:
        "The relevant facts are as follows. Petitioner was charged
    ,vith sexually assaulting two siblings, A and B. A had dis-
    closed the abuse first, reporting both that petitioner had
    abused her and that she had witnessed him abusing [her
    brother, B]; several months later, B also disclosed abuse. At
    trial, the state offered testimony from a doctor who diag-
    nosed A with having been sexually abused, based in part
    on physical evidence of abuse. Petitioner asked for a hear-
    ing under OEC 104, to determine whether that diagnosis
    was admissible scientific evidence. The trial court opined
    1  In Evans III, we rejected petitioner's other assignments of error without
 discussion. The Supreme Court's remand does not affect our disposition of those
 assignments. Evans IV; 368 Or at 167 n 4 (so noting).
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                                Exhibit           Evans v. Nooth

  that the diagnosis was not scientific evidence, denied peti-
  tioner's request for hearing, and admitted the doctor:s tes-
  timony. A jury convicted petitioner on eight counts involv-
  ing A and two counts-Counts 13 and 14-involving B.
  The court im.posecl concurrent 75-inonth sentences on the
  counts related to B, with a longer set of sentences, several
  consecutive, on the counts related to A.
     "Petitioner appealed. Among other assignments of
  error, he challenged the admission of the doctor's testin1ony
  regarding A. The Court of Appeals reversed in part, citing
  State v. Southard, 347 Or 127, 218 P3cl 104 (2009) (then
  recently decided), and concluding that the trial court had
  erred in acln1itting the doctor's testin1ony without conduct-
  ing an OEC 104 hearing. State v. Evans, 236 Or App 467,
  470, 236 P3d 848 (Evans I) , 1nodified on recons, 238 Or App
  466, 242 P3d 718 (2010) (Evans II); see also Southard, 347
  Or at 139, 142 (diagnosis of 'sexual abuse' not acc01npanied
  by physical evidence of abuse qualified as scientific evi-
  dence, but was not adniissible under OEC 403, because it
  did not 'tell the jury anything that it could not have deter-
  111ined on its own'). The Court of Appeals reversed and
  remanded petitioner's convictions on the counts relating to
  A. However, the court's opinion said nothing about Counts
  13 and 14, the counts related to B. Evans I , 236 Or App at
  470-71.
     "The state sought reconsideration, seeking clarification
  that petitioner's convictions on Counts 13 and 14 had not
  been affected by the errors identified in Evans I. Petitioner's
  appellate counsel filed a response, which is the genesis of
  petitioner's inadequate assistance clain1. In that response,
  counsel ,vrote that petitioner 'agree[d]' that Evans I had
  affinned on Counts 13 and 14, and did 'not object to n1od-
  ifying the opinion to n1ake that affirmation express.' The
  response further agreed that remand and resentencing on
  Counts 13 and 14 were appropriate. The Court of Appeals
  allowed reconsideration and 1nodified its disposition to
  expressly affirn1 petitioner's convictions on Counts 13 and
  14. Evans II, 238 Or App 466. On remand, the trial court
  dismissed the counts relating to A at the state's request,
  but it also resentenced petitioner to consecutive 7 5-month
  sentences on Cotu1ts 13 and 14.
         "Petitioner filed for post-conviction relief, contending
      that his appellate counsel's response on reconsideration.
      of Evans I had amounted to inadequate assistance. He
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                                       Exhibit                 165

  specifically asserted that counsel should have relied on
  Southard to 111ake an argument that, together with other
  aspects of the state's evidence, the doctor's testi1nony
  in1properly had vouched for both .Ns and B's credibility,
  and had created a substantial risk of prejudice affecting
  the jury's evaluation of their credibility-such that the
  error was not harn1less as to Counts 13 and 14, requir-
  ing reversal. The superintendent countered that Evans II
  affirmatively had stated that Counts 13 and 14 had been
  'unaffected by the error' in adn1itting the doctor's testi-
  mony, 238 Or App at 467-stated differently, that the error
  identified in Evans I had been harmless as to Counts 13
  and 14, which in turn shmved that counsel's response had
  not prejudiced petitioner. The superintendent otherwise
  argued that counsel had acted reasonably."
Evans IV, 368 Or at 161-65 (einphasis in original; footnotes
omitted).
          The post-conviction court ulthnately denied peti-
tioner's claim. The court reasoned that appellate counsel had
acted reasonably because the clairn of error in Evans I had
involved only the failure to hold an OEC 104 hearing and
had not implicated Southard. Therefore, the post-conviction
court concluded, the reason for reversing petitioner's con-
viction on counts involving A did not extend to Counts 13
and 14, ,vhich involved B. The post-conviction court further
concluded that petitioner had failed to establish prejudice
because he failed to prove that "further action by his appel-
late attorney would have changed" this court's detennina-
tion on direct appeal that the error had not affected the ver-
dicts on those two counts.
         Petitioner appealed the post-conviction court's judg-
n1ent, and this court affirmed. \Ve understood the question
before us to be whether petitioner had demonstrated that
he was entitled to prevail as a matter of law on his claim of
inadequate assistance. We explained that appellate work,
like trial work, does not involve a one-size fits all approach;
"there are a myriad of tactical decisions in ho-w to best con-
duct litigation that are properly the province of the attor-
ney," but deciding on the broader objectives of litigation-
including which convictions to challenge on appeal-is the
client's decision to make. Id. at 337-38. "\Ve then concluded
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that petitioner had failed to provide the necessary eviden-
tiary context for us to conclude that he \Vas entitled to pre-
vail as a n1atter of law. 2
           The Supren1e Court allowed revievv and reversed
our decision. The court stated~ ''As can be seen, the question
before the post-conviction court and frained by the parties
on appeal was ,vhether, in responding to the state's petition
for reconsideration of Evans I, appellate counsel had pro-
vided inadequate assistance in failing to argue that the trial
court's erroneous admission of the doctor's testhnony had
required reversal of all convictions, including on Counts 1:3
and 14. But the Court of Appeals did not acldTess that ques-
tion." Evans IV, :368 Or at 165. Rather, the Supre1ne Court
explained, ,ve had sua sponte ,:in1posed an evidentiary bur-
den on petitioner to establish facts concerning the objectives
of his earlier appeal that had not been at issue belo,v''-that
is, ,:ve had "in effect affir1necl the post-conviction court's
judg1nent by invoking the 'right for the ,vrong reason' prin-
 ciple." Id. at 166. The court concluded that our approach had
prejudiced petitioner, because he "had no reason to offer evi-
 dence- of that nature to the post-conviction court." Id. And,
 accordingly, the Supre1ne Court reversed and ren1anded for
 us "to consider petitioner's assignn1ent of error as fran1ecl
 by the parties before the post-conviction court and in their
 Court of Appeals briefing." Id. at 167.
         With the Supreme Court's directive in 111ind-ancl,
in light of that court's observation that petitioner had no
reason to offer evidence regarding his appellate objectives
in the post-conviction court-,ve proceed upon ,vhat \Ve have

      2
     \Ve concluded:
        "Here, petitioner presented no e,;idence of the objectives of his appellate
   litigation. Consequently, on appeal petitioner is forced to advance a cate-
   gorical argument that all appellate attorneys render constitutionally inad-
   equate or ineffective representation ,vhen they fail to challenge each and
   every count of conviction. For the reasons we have discussed, that argument
   fails. Alternatively, petitioner may be relying on an unspoken argument that,
   absent contrary evidence, a defendant is presumed to ,vant to vigorously chal-
   lenge each and every criminal charge as the objective of his litigation, both at
   trial and on appeal. But that arglllllent, too, must fail. ,,n;::c: Accordingly, we
   cannot conclude that the facts in evidence entitled petitioner to a favorable
   decision as a matter of law."
Evans III, 300 Or App at 339.
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                                       Exhibit                 167

been given, ·which is the Supren1e Court's assrunption that
petitioner's intention was to obtain a retrial on all convic-
tions. \Ve assess the adequacy of appellate counsel's repre-
sentation on direct appeal in light of that.
          To obtain relief under Article I, section 11, of the
Oregon Constitution, a post-conviction petitioner 1nust sho,v
"that counsel failed to exercise reasonable professional skill
and judgn1ent, and that the petitioner suffered prejudice as
a result of counsel's inadequacy." Johnson v. Prem.a, 361 Or
688, 699, 399 P3d 431 (2017). In determining ·whether coun-
sel's actions or inaction reflected an absence of "professional
skill and judgment," ,ve try to evaluate the lawyer's conduct
"fron1 the la\vyer's perspective at the tiine, without the dis-
torting effects of hindsight." Lichau v. Baldwin, 333 Or 350,
360, 39 P3d 851 (2002). For that reason, "an appellate deci-
sion issued after petitioner's trial cannot, on its own, de1non-
strate that trial counsel failed to exercise reasonable profes-
sional judgment in failing to spot a debatable legal issue."
Antoine v. Taylor, 368 Or 760, 769, 499 P3d 48 (2021).
         With those principles in n1ind, we turn to the ques-
tion of counsel's performance: Vilould an appellate attorney,
exercising reasonable skill and judgment at the time of
petitioner's direct appeal, have argued that the trial court's
erroneous ad1nission of Koeller's 1nedical diagnosis of abuse
required reversal of all convictions rather than conceding,
as appellant's counsel did on reconsideration, that Counts
13 and 14 v1ere unaffected by the trial court's error? Our
answer to that question is yes.
         First, we begin by clarifying the scope of petition-
er's post-conviction clairn. Although n1uch of the focus of this
post-conviction case has been on appellate counsel's conces-
sion at the reconsideration stage, petitioner's claim itself is
slightly broader than that. Petitioner's allegations included
the following:
        "On October 1, 2009, before oral argument on petition-
    er's direct appeal, the Oregon Supre1ne Court decided State
    v. Southard, 347 Or 127, 218 P3d 104 (2009). Based upon
    this decision, petitioner's appellate counsel knew or should
    have known that, given the evidence received by the jury
    as alleged in paragraph 4 7 above [setting out the proof at
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  trial], the trial court's failure to grant petitioner an OEC
  104 hearing required a reversal of petitioner's convictions
  for offenses against 'A:. and 'B.'
       "On Ol' after Octobe1· 1,. 2009_, appellate counsel failed
  to request that the Court of Appeals reverse ancl renwnd
  Counts 18 and 14 based on State v. Southard_. 347 Or 127_.
  218 P3d 104 (2009), and on grounds that, together wdh the
  evidence identified in paragraph 47 above, Dr. Koeller's
  e.,1Je1·t opinion testinwny diagnosing :4.' with sexual abuse,
  improperly vouched for the credibility of both :4_·' and 'B' and
  created a substantial rish that the jury uxt.s prejudiced by
  that testim.o ny when evaluating the credibility of both :4.' and
  ;B.·' Instead, appellate counsel improperly conceded that peti-
  tioner's convictions involving 'B ·' on Counts 13 and 14. v..,ere
   unaffected by the trial courfs error.
     "Competent appellate counsel, exercising reasonable
  professional skill and judgment, would interpret State v.
  Southard , 34 7 Or 127, 218 P3d 104 (2009) to support rever-
  sal and remand of Counts 13 and 14 for the reasons alleged
  above and would not concede that Counts 13 and 14 should
  be affirmed."
(E111phasis added; paragraph nu111bering on1itted.)
         As those paragraphs 1nake clear, appellate coun-
sel's concession was the final n1anifestation of counsel's
alleged inadequacy in failing to appreciate the significance
of Southard and f~iling to argue that the achnission of
Koeller's testin1ony also affected the jury's verdicts as to B.
That broader lens is significant, both in tenns of evaluating
counsel's perforn1ance and any resulting prejudice, as dis-
cussed later.
         Petitioner filed his opening brief on direct appeal
at the end of 2008. Petitioner's first assignn1ent of error
on direct appeal asserted that "[t]he trial court abused its
discretion when it failed to conduct an OEC 104 hearing to
detennine whether Koeller's 111edical diagnosis of sexual
abuse was scientifically valid," and he relied on the Supre1ne
Court's decision in State v. lVIarrington , 335 Or 555, 73 P3d
911 (2003). In arguing for reversal based on that eviden-
tiary error, petitioner did not distinguish a1nong convictions
beb.veen A or B or develop 1nuch of an argu1nent regard-
ing prejudice-even as to A. His opening brief stated, "For
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these reasons, defendant respectfully request[s] that this
court, follow Marrington, reverse defendant's convictions
and re1nand to the trial court \vith instructions to conduct
an OEC 104 hearing if the state chooses to offer Koeller's
testirnony on retrial." 3
         i\fter petitioner filed his opening brief, but before
the case ,vas submitted, the Oregon Supreme Court issued
its decision in Southard, a significant case concerning
admissibility of n1edical diagnoses of child sexual abuse.
In Southa1·d, the defendant had been charged ·with sexu-
ally abusing two siblings, a boy and a girl, ,vho ,vere both
evaluated by physicians at an abuse assessment center. The
doctor who evaluated the boy diagnosed hi111 as having been
abused, but the doctor who exa111ined the girl ,vas unable to
reach a diagnosis. Southard, 347 Or at 131. The trial court
in that case n1ade a pretrial ruling that the diagnosis of
sexual abuse was adn1issible, and the physician who exa1n-
ined the boy testified at trial that, after consulting with the
social worker who had interviewed the boy and the director
 of the abuse assess1nent center, she had diagnosed the boy
 as having been sexually abused. The jury heard that and
 other evidence of abuse and found defendant guilty of three
 counts of :first-degree sod01ny, tvvo counts regarding the boy
 and one count regarding the girl. Id.
         The Supreme Court allo-wed revie,v "to consider
whether, under the circumstances presented here, a diagno-
sis of sexual abuse is ad1nissible scientific evidence." Id. at
132. The court began by addressing "whether the evidence
possesses sufficient scientific validity to be ad1nissible."
    3
      To the e:i,._-tent petitioner referred to harmless error, it was largely in the con-
text of anticipating a contention from the state that the evidence could be deemed
scientifically valid despite the failure to hold the hearing:
         "Moreover, despite any forthcoming arguments from the state, the trial
    court's failure to determine whether Koeller's testimony had a sufficient foun-
    dation cannot be deemed harmless error. The fact that this court has ruled
    other physician's diagnosis of sexual abuse admissible as scientific evidence,
    based on a developed record as to ho\v that physician reached that opinion,
    is of no import when the trial court below erroneously failed to require the
    state to make a similar shmving. The issue in this case is whether Koeller's
    diagnosis of sex.--ual abuse was scientifically valid. Because of the error below,
    no record exists below from which to conclude that Koeller's diagnosis was
    scientifically valid."
(Emphasis in original.)
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]cl. at 133. In the process, the court explained hmv a diagno-
sis of child sexual abuse differs fron1 other types of 1nedical
diagnoses:
   "A diagnosis of child sex abuse * * ,;, cletennines ,vhether
   conduct (an act of sexual abuse by another person) has
   occurred; the conduct is not complicated, and the ability
   to determine its occurrence often is a matter vvithin a lay
   person's competence. In this case, for example, if a lay
   person were to credit the boy~s statements that defendant
   made hin1 and his sister engage in oral sex, then it follows
   that the children ,vere sexually abused. It also follmvs that
   the doctor's ultimate conclusion in this case-that sexual
   abuse had occurred-did not turn on an abstruse 111atter of
    science; rather, it turned prin1arily on the sort of credibility
    detern1ination that lay jurors ordinarily 111ake."
Id. at 134-35. Nonetheless , after evaluating the "totality
of the procedures" and the record developed, as well as the
rnethoclologies used at the abuse center (which included a
physical exa1nination for evidence to corroborate the doctor's
conclusion), the court held that "the diagnosis possesses suf-
ficient indicia of scientific validity to be ad111issible"-that
is, that it should not auton1atically be excluded as "bad sci-
ence." Id. at 137, 139.
         That, however, was not the encl of the inquiry in
Southard. The court concluded that, although the evidence
,vas scientifically valid, its probative value ,vas substan-
tially outweighed by the risk of prejudice it posed. The court
explained that the evidence had relatively lmv probative
value, because the doctor's diagnosis, ,vhich was based on
reports of oral sex, did not tell the jury anything that it ,vas
not equally capable of detennining on its own. Id. at 140. On
the other hand, the risk of prejudice \Vas significant. Id. As
the court explained:
           "The risk of prejudice, however, ,vas great. The fact that
      the diagnosis came froni a credentialed e."t·perf, szffrounded
      z.uith the hallnwrhs of the scientific 1netlwd, created a sub-
      stantial risl-?- that the jw·y may be overly impressed or preju-
      diced by a perhaps 1nisplacecl aura of reliability 01· validity of
      the evidence. [State u. Brown, 297 Or 404, 439, 687 P2d 751
      (1984)]. As in Brown, the diagnosis is particularly problem-
      atic because the diagnosis, which was based prin1arily on
      an assessn1ent of the boy's credibility, posed the risk that
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  the jury will not n1ake its own credibility determination,
  which it is fully capable of doing, but will instead defer to
  the expert's implicit conclusion that the victin1's reports of
  abuse are credible. See id. at 440-41 (reasoning that poly-
  graph evidence could effectively take over the jlll'y's tradi-
  tional function of judging the credibility of witnesses). In
  our view, the risk of prejudice substantially outweighs the
  minin1al probative value of the diagnosis."
Southard, 347 Or at 140-41 (en1phasis added; s01ne internal
quotation n1.arks and alterations 01nitted). The court then
reversed all of the convictions-involving abuse of the boy
and the girl-·without differentiating between the prejudice
as to the two. Id. at 143 ("The state has not argued that the
admission of that evidence ,vas harn1less, and our review of
the record confirn1s that the state reasonably has declined
to 1nake that argutnent.").
         As discussed above, in Evans I, we relied on Southard
in concluding that the trial court erred in admitting Koeller's
diagnosis of sexual abuse. We held that "the trial court erred
in failing to hold a hearing under OEC 104 to detennine the
ad1nissibility of Koeller's diagnosis." Evans I, 236 Or App
at 4 70. ''That determination," ,ve explained, "would have
enc01npassed an inquiry into the relevance of the evidence
under OEC 401, whether the testin1ony wuuld be helpful to
the jury under OEC 702, and a weighing of prejudice unde1·
OEC 403. Southard, 347 Or at 139." Evans I, 236 Or App at
470 (e1nphasis added).
          After Southard was decided, and at least by the
point that we decided Evans I-in which we specifically
identified the weighing of prejudice as a potential factor on
 ren1and-it should have been apparent to petitioner's appel-
 late counsel that the erroneous aclnussion of a diagnosis of
 sexual abuse as to A could have influenced the jury's verdict
 as to the counts involving B as well. That is for hvo rea-
 sons: First, Southard itself involved that same scenario, and
 the Supreme Court had reversed all convictions. Second,
 Southard's approach Vlas not new; it ·was consistent ,vith
 basic and well-established principles of prejudice involving
 evidentiary error.
          Then, and now, evidentiary etTor is not presump-
 tively prejudicial under Oregon law·. See OEC 103(1). The
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inquiry for ,vhether erroneous achnission of evidence
requires reversal of a conviction is ·whether there is "little
likelihood" that the ad1nission of the evidence affected the
verdict. State v. Davis, 336 Or 19, 32, 77 P3d 1111 (2003). As
·we observed in 2008 in State v. Vargas-Scunaclo, 223 Or App
15, 19, 195 P3d 464 (2008),
   Hthe correct focus of that inquiry is on the possible influ-
   ence of the error on the verdict renderecl, not ·whether this
   court, sitting as a fact:finder, would regard the evidence of
   guilt as substantial and con1pelling. As an initial step, the
   court detern1ines the particular evidentiary issue that is
   subject to harmless error analysis. After identifying the
   pertinent issue, the co1u-t considers the nature of the erro-
   neously ad1nitted evidence in the context of other evidence
   on the same issue. In detern1ining the possible influence of
   the error on the verdict, we also consider the iinportance of
   the erroneously adn1itted evidence to a party's theory of the
   case. If erroneously admitted evidence relates to a central
   factual issue to the case, it is 1110re likely to have affected
   the cletennination than if it dealt ,vith a tangential issue.
   In short_, our function is to detennine i.uhether. given the
   nature of the erroneously admitted evidence and its relation-
   ship, a.s framed by the parties' p1·esentations, to the matters
   essential to the jury's verdict, there uxts little lihelihoocl that
   that evidence affected the verdict."

(En1phasis added.)
          Reasonable appellate counsel, applying that basic
fran1evvork, should have recognized that the erroneous
adn1ission of a medical diagnosis of sexual abuse went to
a central factual issue in the case on all charges: N.s cred-
ibility. This was a case in which A, ·who is two years older
than B, initially disclosed that she had been abused, and
she had reported seeing B being abused by petitioner as
well. B, however, had not disclosed abuse until n1uch later;
and, during trial, even by the prosecutor's acknowledg1nent,
B's testimony ·was less c01npelling. The prosecutor told the
jury, "No,v, it \Vould be foolish for n1e to stand up here and
argue to you that [B'sJ disclosures and [B's] testin1ony ,vas
as con1pelling as [N.s}. It was not." Rather, the prosecu-
tor explained that N.s testin1ony was critical to the jury's
deliberations:
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      "Ne:z..."'t in the case you heard fron1 what I would sub1nit
  to you was the most iinportant witness in the case and that
  ,vas [A]. That, I expect, will be the center piece of your dis-
  cussions, of defense counsel's argument and of your ver-
  dict is what [A] said, ,vhat [A] said here on Tuesday, what
  she said ,vhen she first disclosed the sexual abuse to the
  psychologist *'''*, what she said when she ·w ent to CARES ,
  what she said ,vhen she went and had therapy '" '" '"."
What she first disclosed to the psychologist, and what that
psychologist testified to at trial, V{as that A "said that [peti-
tioner] had had [B] come in and be involved in the sexual
abuse, that [petitioner] had touched [B's] penis and had [B]
touch his penis.~'
         The prosecutor also relied heavily on Koeller's testi-
mony, including her diagnosis of sexual abuse, to bolster Ns
credibility and corroborate her version of events and disclo-
sures of abuse. The prosecutor argued, "After the kids testi-
fied, then yesterday was-I think you all agree-a full day
of testimony. Second only to [A] in tenns of in1pact on this
case ,vas the testiinony of Dr. Paula Koeller."
         Given the overlapping proof, intertwined testi111ony
involving the abuse of A and B, the relative strength of Ns
and B's testin1ony, and the prosecutor's reliance on N.s and
Koeller's testiinony, reasonable appellate counsel should
have appreciated that the erroneously ad111itted diagnosis
of sexual abuse had the potential to affect the jury's deliber-
ations as to all counts, including the counts involving B. As
Southard explained, the risk of prejudice fron1 the errone-
ously adn1ittecl diagnosis of sexual abuse was that the jury
would hear that diagnosis fro111 a credentialed expert and
defer to Koeller's implicit conclusion that N.s reports of abuse
were credible. 4 And, given the prosecutor's heavy reliance
on Ns credibility to prove the charges involving B, the erro-
 neous ad111ission would tend to affect those verdict s as ,vell.
See State v. Wood, 253 Or App 97, 102, 289 P3cl 348 (2012)
 (reversing convict.ions \Vhere factfinder's verdict "rested

     -f Koeller was asked on direct examination, "And how important is the inter-

view to your ultimate diagnosis or recommendation?" Koeller responded, "'Uhm,
I would not be able to make a diagnosis of sexual abuse ·with just this finding. It
t akes both the disclosure-well, it takes all parts. I mean, it takes the disclosur e
and the example in order to make a diagnosis."
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on the credibility and corroboration of B's testimony, and
the i111properly achnittecl hearsay evidence bore directly on
both").
          In fact, other appellate attorneys \Vere n1aking
si1nilar argu1nents around the same ti1ne in cases involv-
ing 111ultiple victi1ns and erroneously introduced diagnoses
of sexual abuse. In State v. Freitas , 243 Or App 231, 237,
259 P3d 46 (2011), rev den , 351 Or 545 (2012), the defen-
dant argued that "Southard instructs that the ad1nission of
a diagnosis of sexual abuse as to one victin1 will always cre-
ate a substantial risk that the jury ·will defer to that diag-
nosis in judging the credibility of all the victi1ns in a case."
We rejected that categorical argu111ent, instead applying our
ordinary hannless error analysis and exan1ining the poten-
tial effect of the erroneously ad111itted evidence on the jury's
verdict. In doing so, ,:ve observed that the expert's testimony
 about one victi1n did not rely upon or con1111ent on the other
victi1n's clahns of abuse and we found "no other indication
 in the record that defendant's convictions for the abuse of
 [one victim) were based on [the other victhn's] testhnony, or
 on the erroneously ad1nitted expert testilnony. Southard,
 therefore, does not require reversal of the charges as to both
 victiins." Icl. at 238-39.
          Shortly thereafter, in State v. Co:t~, 248 Or App 325,
327, 273 P3d 299 (2012), ,ve again addressed a defendant's
argu111ent that, "because the erroneously ad1nitted diagno-
sis affected the jury's decision to convict hin1 on the charges
involving E, who had not been diagnosed as having been
sexually abused, all of defendant's convictions, not just those
involving K, should be reversed." We fran1ed the question in
tern1s of ancillary prejudice: "[B]ecause-as vve concluded
above-K's diagnosis likely affected the jury's conclusion
about the credibility of K's testin1ony concerning his abuse,
did that conclusion have the ancillary consequence of affect-
ing the jury's cleter1nination of whether E's testi1nony about
her abuse ,vas also credibleT' Id. at 331. In contrast to the
record in Frietas, ,ve concluded in Cox that the ad111ission
had ancillary consequences for three reasons: (1) K's cred-
ibility ,vas inextricably tied to E's credibility and, thereby,
likely served an i111portant role in the jury's determination
of the truthfulness of E's testin1011y; (2) the prosecutor's
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c01nn1ents during his closing argun1ent purposely joined K
and E's credibility into a single consideration for the jury
and strongly suggested that the diagnosis showed that
both victhns \Vere telling the truth; and (3) K's testiinony
cross-corroborated various aspects of E's testin1ony regard-
ing her abuse." Id. at 331-32.
         The superintendent points out that those cases
were not decided until after the direct appeal in this case.
That is true, but it is beside the point. Co:1.: and Frietas did
not change the hannless error analysis; they siinply applied
existing principles to factual scenarios involving 1nult.iple
abuse victin1s and an error in achnitting an abuse diag..
nosis as to one victin1. There is no reasonable explanation
for \vhy petitioner's appellate counsel did not do- that same
thing on direct appeal, either in briefing before our decision
in Evans I or, at the very least, after the issue \Vas flagged
in the state's petition for reconsideration.
         In ruling to the contrary, the post-conviction court
concluded that counsel had "no basis" for objecting to the
state's petition for reconsideration because Southard \Vas
distinguishable:
   "There was no basis for such an objection. The counts that
   were reversed related to A and were reversed because the
   trial court failed to conduct a necessary hearing to deter-
   mine the admissibility of expert testin1ony that A had been
   sexually abused. State v. Southard, 347 Or 127 (2009), does
   not apply. In this case there was physical evidence of pos-
   sible abuse so an expert could give a diagnosis of sexual
   abuse if the testimony were otherwise admissible. The rea-
   son for the other counts being remanded for further consid-
   eration was not based on a Southard argun1ent. Since the
   reason for the reversal and remand on the other counts did
   not apply to counts 13 and 14, Petitioner's appellate attor-
   ney was not ineffective for conceding that counts 13 and 14
   were affu·med."
That analysis n1isstates the prejudice inquiry applied by
an appellate court. When evidence is erroneously adn1itted,
we consider ho\v that e1~·or affects the juris deliberations,
not sin1ply the reason for the error or what n1ight occur
on remand. In this case, regardless of whether the state
could have laid the foundation for admission of the n1edical
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diagnosis, the fact re1nains that it did not, and vve declined
in Evans II to re111and the case on a 1nore lin1ited basis.
Thus, the question for appellate counsel was not whether
the evidence was erroneously admitted as to B for the san1e
reason it ,vas erroneously adn1itted as to A. Instead, the
question ,vas ,vhether the erroneous ad1nission of the 1nedi-
cal diagnosis had a tendency to taint the jury's verdict as to
both children by bolstering .Ns testin1ony and corroborating
her reports of abuse of herself and B.
          For the reasons stated above, we conclude that appel-
late counsel failed to exercise reasonable professional skill
and judg111ent ·when she failed to argue on direct appeal-
and then further conceded in response to the stat.els peti-
tion for reconsideration-that the verdicts on Counts 13 and
14 "·were affirmed and re1nanded for resentencing.'' At the
very least, appellate counsel should have responded to the
state's petition by alerting this court that (a) our opinion had
not dealt with those convictions (either expressly or ,vith a
tag line that said "otherwise affinned'') and (b) that, under
Southard and our typical assessment of prejudice, all counts
n1ust be reversed.
         Next, we turn to the question of prejudice. A peti-
tioner seeking post-conviction relief ste111n1ing fron1 a clai1n
of inadequate assistance of appellate counsel for failing to
assert a claimed error 1nust establish not only that compe-
tent appellate counsel w-ould have asserted the claim, but
that "had the claim of error been raised, it is 1nore probable
than not that the result would have been different. In short,
[petitioners] n1ust shn\,r that [they ,vere] prejudiced." Guinn
v. Cupp , 304 Or 488, 496, 747 P2d 984 (1987). Petitioner
satisfied that standard. In this case, not only did appellate
counsel have a plausible argument on prejudice that should
have been asserted; petitioner had a winning argun1ent.
If petitioner's counsel had presented a developed prejudice
argument to this court, either before Evans I or on recon-
sideration (considering that Southard had been decided
after his initial briefing), he likely would have prevailed on
that clain1, just as the defendant in Cox had, and his con-
victions on Counts 13 and 14 would have been reversed and
ren1anded along with the counts involving A.
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         In concluding otherwise, the post-conviction court
reasoned that ,ve had already "determined that the reasons
for reversing the other counts did not affect counts 13 and
14," so "[p]etitioner did not prove that further action by his
appellate attorney ·w ould have changed that detern1ination.'~
The superintendent advances a sin1ilar argu1nent, asserting
that appellate counsel's response to the petition for recon-
sideration an1ounted to a concession that th.is court had
already determined harmlessness, not a concession on the
1nerits of that issue. The superintendent also argues, "even
if petitioner is correct that appellate counsel conceded that
the erroT did not affect counts 13 and 14, this court is not
bound by a party's concession on a legal issue."
          We reject that line of reasoning. First, it does not
account for the breadth of petitioner's claim, ,vhich is not
strictly limited to the concession on reconsideration but fairly
can be read to enc0111pass appellate counsel's post-Southard
failure to n1ake any prejudice argument. Second, and
relatedly, it fails to appreciate the role that appellate coun-
sel's argu1nents and concessions play in a harn1less error
analysis on appeal. It is correct that this court is not bound
by concessions of la,v, but it is also an appellant's burden
to deinonstrate that an evidentiary error is prejudicial. The
Supreme Court's decisions in State v. Leistiho, 352 Or 172,
282 P3d 857 (Leistiho I), adh'd to as modified on recons, 352
Or 622 , 292 P3d 522 (2012) (Leistilw II), are illustrative. In
the court's original opinion, it explained:
        ''Defendant argues that, if the trial court erred in admit-
   ting the fourth ,vo1nan's testiinony, the error prejudiced
   him. The state does not argue that the error was harmless,
   and we agree that the admission of the fourth woman's
   testimony prejudiced defendant. The rernain.in.g question
   is the effect of the error. On appeal and again on review,
   defendant has argued that the erroneous admission of the
   fourth woman's testimony requires that his 'convictions' be
   reversed, but he has not specified which convictions, other
   than his two first-degree rape convictions, may have been
   affected by the error. Given the absence of any argurnent by
   defendant that the erroneous adniission of the fourth, wom-
   a.ri's testimony affected any conviction other than his first-
   degree rape convictions, we reverse the Court of Appeals
   decision to the extent that it affirmed the two first-degree
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   rape convictions. Cf. OEC 103(1) (evidential error is not pre-
   sumed prejudicial). 1~
Leistiho I, 352 Or at 189 (en1phases added).
          The defendant then sought reconsideration, argu-
ing that the court had 111issecl his hannless error argun1ent;
alternatively, he asked the court to consider it for the first
ti111e on reconsideration. The Supre1ne Court allowed recon-
sideration but adhered to its decision, concluding that peti-
tioner had not raised the issue in his earlier briefing and
that it was not appropriate to consider it for the first titne on
reconsideration. Leistiho   1r352 Or at 624.
         In this case, our earlier decisions in Evans I and
Evans II ,vere affected by appellate counsel's failure to exer-
cise reasonable professional skill and judg1nent in develop-
ing a hannless error argn1nent regarding Counts 13 and
14. Had appellate counsel clone so, it is 1nore probable than
not that petitioner would have obtained a reversal of those
convictions. For that reason, petitioner is entitled to post-
conviction relief.
           That leaves the question of re111ecly. As the superin-
tendent points out, after our decision in Evans II, the state
dis1nissed the counts involving A and proceeded to resen-
tencing on counts involving B. vVe generally agree with the
superintendent that the case should be returned to the sta-
tus it ,vould have been in had petitioner's counsel provided .-
constitutionally adequate representation-that is, with
petitioner facing the possibility of retrial on the reinanded
counts involving A as ,vell as B. Ho,vever, the post-conviction · --
court has not had the opportunity to address the question of
what ren1edy to fashion in light of all the circun1stances,
and v,,re therefore reverse and re1nand for the post-conviction
court to address that question in the first instance.
          Reversed and ren1anded.
